      Case 4:22-cv-05137-YGR Document 123 Filed 12/15/23 Page 1 of 4



1    PHILLIP A. TALBERT
     United States Attorney
2    BRODIE M. BUTLAND
     PHILIP A. SCARBOROUGH
3    Assistant United States Attorneys
     2500 Tulare Street, Suite 4401
4    Fresno, CA 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099
6
     Attorneys for Defendant
7    United States of America
8                          UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10
11   M.R.,                                 CASE NO. 4:22-cv-05137-YGR
12
             Plaintiff,                    Related To:
13   v.
14                                         23-cv-02342-YGR
     FEDERAL CORRECTIONAL                  23-cv-03475-YGR
15   INSTITUTION (“FCI”) DUBLIN;           23-cv-03558-YGR
16   ROSS KLINGER; RAY J. GARCIA;          23-cv-02206-YGR
     and UNITED STATES OF                  23-cv-04698-YGR
17   AMERICA, a governmental entity,       23-cv-02201-YGR
18                                         23-cv-03562-YGR
             Defendants.                   23-cv-03700-YGR
19                                         23-cv-05356-YGR
20                                         23-cv-02668-YGR
                                           23-cv-03538-YGR
21                                         22-cv-08924-YGR
22                                         23-cv-02135-YGR
                                           23-cv-02405-YGR
23                                         23-cv-04155-YGR
24                                         23-cv-03716-YGR
                                           23-cv-03994-YGR
25                                         22-cv-07704-YGR
26                                         23-cv-03997-YGR
                                           23-cv-03641-YGR
27                                         23-cv-04437-YGR
28                                         23-cv-04434-YGR


           UNITED STATES’ PROPOSED ORDER REGARDING PSYCHOLOGICAL EVALUATIONS
      Case 4:22-cv-05137-YGR Document 123 Filed 12/15/23 Page 2 of 4



1                                              23-cv-05339-YGR
2                                              23-cv-03390-YGR
                                               23-cv-04317-YGR
3                                              23-cv-04283-YGR
4                                              23-cv-04435-YGR
                                               23-cv-04361-YGR
5                                              23-cv-04436-YGR
6                                              23-cv-04321-YGR
                                               23-cv-03827-YGR
7                                              23-cv-04691-YGR
8                                              23-cv-02986-YGR
                                               23-cv-05392-YGR
9                                              23-cv-04611-YGR
10                                             23-cv-05294-YGR
                                               23-cv-05821-YGR
11                                             22-cv-09096-YGR
12                                             23-cv-06150-JSW
                                               23-cv-05374-RFL
13                                             23-cv-05343-YGR
14                                             23-cv-05623-YGR
                                               23-cv-06146-YGR
15                                             23-cv-06285-YGR
16                                             23-cv-06330-YGR
17                                             UNITED STATES’ [PROPOSED]
18                                             ORDER REGARDING
                                               PSYCHOLOGICAL EVALUATIONS
19                                             OF PLAINTIFFS
20
21
22         Pursuant to the Court’s order following the December 11, 2023, case
23   management conference, the United States respectfully submits a proposed order
24   permitting experts to conduct psychological evaluations of plaintiffs currently held
25   in the custody of the Bureau of Prisons to assist in the parties’ settlement efforts.
26   The United States’ proposed order is attached as Exhibit A. The United States
27   objects to plaintiffs’ proposed order (Dkt. 122) and will be prepared to address these
28   issues at the hearing on December 18, 2023.

            UNITED STATES’ PROPOSED ORDER REGARDING PSYCHOLOGICAL EVALUATIONS
      Case 4:22-cv-05137-YGR Document 123 Filed 12/15/23 Page 3 of 4



1          After the December 11 conference, Brodie Butland, who has been acting as
2    liaison counsel for the United States Attorney’s Offices, engaged in extensive meet
3    and confer efforts with Jessica Pride, who has been acting as plaintiffs’ liaison
4    counsel. In the afternoon on December 15, 2023, the day the proposed order was
5    due to be filed, Ms. Pride informed Mr. Butland that plaintiffs are taking the
6    position that, if the United States conducts a psychological evaluation of a plaintiff
7    in connection with the anticipated mediation process, that examination should be
8    the only one the United States is permitted to conduct in the entire litigation.
9    Plaintiffs filed a proposed order shortly thereafter, which proposes language to
10   implement those restrictions on the United States.          See Dkt. 122 at 3 (¶ 1).
11   Plaintiffs’ proposed approach does not place any similar limitation on their own
12   evaluations of plaintiffs, but instead explicitly permits them to conduct a separate
13   examination for litigation purposes if a case does not settle. See id. at 4 (¶ 7).
14         The United States objects that plaintiffs’ proposal is inconsistent with their
15   previous position in the joint case management statement (Dkt. 110), is inconsistent
16   with the Court’s discussion of the issue at the December 11 conference and its stay
17   of discovery in favor of pursuing settlement efforts, and would severely prejudice
18   the United States. The joint case management statement explicitly stated that
19   plaintiffs requested psychological evaluations in connection with an anticipated
20   early mediation, not as a substitute for expert discovery. See Dkt. 111 at 8 (“In
21   anticipation of an early mediation of this case . . . , plaintiffs wish to retain medical
22   experts to conduct pre-mediation psychological and/or psychiatric evaluations to
23   assess their individual damages and help value their cases for the mediation.”). In
24   the joint case management statement, the United States took the position that it
25   should also be permitted pre-mediation evaluations, to which some plaintiffs’
26   counsel objected. See Dkt. 111 at 8-10. The joint case management statement
27   further stated that “[t]he parties note that the foregoing and the proposed order
28   applies only to pre-mediation evaluations. For cases that do not settle, the parties

            UNITED STATES’ PROPOSED ORDER REGARDING PSYCHOLOGICAL EVALUATIONS
      Case 4:22-cv-05137-YGR Document 123 Filed 12/15/23 Page 4 of 4



1    may seek further evaluation of incarcerated Plaintiffs, by the same or different
2    professionals. The parties will endeavor to submit a joint proposed court order for
3    those further evaluations . . . .” Id. at 10 (emphasis added).
4          When Court addressed the issue at the case management conference on
5    December 11, the Court clearly stated that if plaintiffs were permitted to conduct
6    such evaluations, the United States would also be permitted to conduct them and
7    overruled any objections to the contrary. Plaintiffs’ proposal, however, would
8    essentially force the United States to conduct its psychological expert discovery for
9    all purposes now, notwithstanding that the parties have not engaged in any fact
10   discovery and notwithstanding that the Court has stayed all discovery in favor of
11   pre-discovery settlement efforts. Plaintiffs’ proposal would prejudice the United
12   States by requiring it to choose between attending mediation without its own
13   evaluation of plaintiff or conducting a full, litigation-oriented psychological
14   examination now, without the benefit of having completed fact discovery and
15   without the ability to offer a new examination after fact discovery occurs.
16         For these reasons, the United States respectfully requests that the Court adopt
17   the United States’ proposed order, which comports with the purpose of the
18   psychological examinations to assist in settlement efforts, without prejudice to
19   either party conducting another examination during discovery if a case fails to settle
20   and proceeds to litigation.
21
      Dated: December 15, 2023                   PHILLIP A. TALBERT
22
                                                 United States Attorney
23
24                                         By: /s/ Philip A. Scarborough
                                               BRODIE M. BUTLAND
25                                             PHILIP A. SCARBOROUGH
                                               Assistant United States Attorneys
26
                                                 Attorneys for the United States
27                                               Acting under authority conferred by 28
28                                               U.S.C. § 515

            UNITED STATES’ PROPOSED ORDER REGARDING PSYCHOLOGICAL EVALUATIONS
